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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS,

and
                                      Civil Action No. 15-cv-01392 (RJL)
THE ASSOCIATED PRESS
          Plaintiffs,

      v.

FEDERAL BUREAU OF
INVESTIGATION,

and

UNITED STATES DEPARTMENT
OF JUSTICE
           Defendants.



THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS
         Plaintiff,
                                      Civil Action No. 18-cv-00345 (RJL)
      v.

FEDERAL BUREAU OF
INVESTIGATION,

and

UNITED STATES DEPARTMENT
OF JUSTICE
           Defendants.



                           NOTICE OF APPEAL
          Case 1:15-cv-01392-RJL Document 57 Filed 04/10/20 Page 2 of 2




       Notice is hereby given that the Reporters Committee for Freedom of the Press and The

Associated Press, plaintiffs in the above-named consolidated case, hereby appeal to the United

States Court of Appeals for the District of Columbia Circuit from this Court’s order of March 20,

2020 denying their motion for summary judgment and granting the motion for summary

judgment of defendants Federal Bureau of Investigation and the United States Department of

Justice (Dkt. #55).

Dated: April 10, 2020                               Respectfully submitted,

                                                    /s/ Katie Townsend
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